                             UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                         *          CRIMINAL NO: 20-55

               v.                                *          SECTION: “F” (4)

JASON R. WILLIAMS                                 *
NICOLE E. BURDETT
                                           *      *     *

                           PROPOSED JUROR QUESTIONNAIRE

       This questionnaire is designed to obtain information about your background as it relates to
your possible service as a juror in a criminal case. Its use will avoid the necessity of asking each
prospective juror every one of these questions in open court, thereby shortening the jury selection
process.

       All answers to this questionnaire will be kept confidential. They will be reviewed only by
the Court and by the attorneys on each side. Your identity and your answers will not be released to
anyone else.

       Respond to each question as fully and completely as possible.                We realize the
questionnaire is lengthy but your cooperation is vitally important.

       Because this questionnaire is part of the jury selection process, the questionnaire is to be
answered under your oath as a prospective juror to tell the truth. You must not discuss this case or
the questionnaire with anyone, including your family and fellow jurors.

        If you require additional space for your responses or wish to make further comments regarding
any of your answers, please use the extra sheets at the end.

        Please keep in mind that there are no "right" or "wrong" answers, only complete and
incomplete answers. Complete answers are much more helpful than incomplete answers. Please
do not leave any questions blank. If a question does not apply to you in any way, write "N/A"
rather than leaving the form blank.

1.     Please provide the following information about yourself.

       Name:                   ___________________________________

       Address:                ___________________________________

       Age:                    ___________________________________

                                                                                             EXHIBIT
                                                                                                   A
     Gender:               ___________________________________

     Race/Ethnicity:       ___________________________________

     Marital Status:       ___________________________________

     Place of Birth:       ___________________________________

2.   Please state your current occupation, employer, and job responsibilities.

     _______________________________________________________________________

     _______________________________________________________________________

     What other occupations/employers have you had as an adult?

     _______________________________________________________________________

3.   Do you have any training or experience in any of the following areas, or have any of your
     family members or close friends worked in any of the following areas? Please check all
     that apply and explain below.

     ____ Manufacturing
     ____ Sales
     ____ Inventory monitoring
     ____ Accounting
     ____ Bookkeeping
     ____ Auditing
     ____ Banking/Finance
     ____ Financial Planning
     ____ Investment Banking
     ____ Business Management
     ____ Stock or securities analyst/trader/broker
     ____ Tax preparation
     ____ Small business ownership

     If you have training or experience in any of the above areas, please explain what your
     duties are/were and where you work(ed):

     ________________________________________________________________________

     ________________________________________________________________________




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4.   The defendants in this case are Jason Williams, who is the District Attorney for Orleans
     Parish, and Nicole Burdett, who is a lawyer. Have you read or heard anything about
     these individuals?

     Yes _____      No _____

     If yes, please explain, including any opinions you may have about these individuals:
     _______________________________________________________________________

     _______________________________________________________________________

5.   If there is evidence of guilt against one defendant, do you think that must make the other
     defendant guilty by association?

     Yes _____      No _____

     If yes, please explain: _____________________________________________________

            _________________________________________________________________

6.   Do you believe that lawyers are experts in every area of the law?

     Yes _____      No _____

     If yes, please explain: _____________________________________________________

     _______________________________________________________________________

7.   Have you or anyone in your immediate family had a negative experience with a lawyer?

     Yes _____      No _____

     If yes, please explain: _____________________________________________________

     _______________________________________________________________________

8.   Do you believe all politicians are corrupt in some way?

     Yes _____      No _____

     If yes, please explain: _____________________________________________________

     _______________________________________________________________________




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9.    One of the defendants in this case is a Black male. Some people recognize that they may
      have a bias with a Black male accused of a criminal offense. If you have feelings that you
      are concerned about, please describe here.

      _______________________________________________________________________

      _______________________________________________________________________

10.   Do you read publications that focus on business news or watch business shows on
      television or listen to them on radio or the internet?

      Yes _____         No _____

      If yes:

      Business publications or news sections: _______________________

      Business television shows: _________________________________

      Business radio shows: _____________________________________

      Internet business sites: _____________________________________

11.   Have you or anyone in your immediate family ever been self-employed or owned a
      business?

      Yes _____         No _____

      If yes, is this: Yourself? Spouse? Child? Family? Friend?

      a. Are you/they still operating the business? Yes _____     No _____

      If no, why not?

      b. Please describe the business:

      c. Was this experience positive ____, negative _____, or mixed ____?

      Please explain: __________________________________________

12.   Have you or anyone you know ever had any negative experiences with an accountant, a
      tax advisor, or the IRS?

      Yes _____         No _____

      If yes, please explain: _____________________________________________________

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13.    Have you ever been involved with an audit of financial records for a company you
       worked for? (This could include an IRS audit or an audit by internal or external
       accountants.)

       Yes _____      No _____

       If yes, please explain: _____________________________________________________

       _______________________________________________________________________

14.    Have you ever been involved in an audit of your personal finances?

       Yes _____      No _____

       If yes, please explain: _____________________________________________________

       _______________________________________________________________________

15.    Have you or anyone you know ever worked in any of the following agencies or
       departments:

            Agency                    Circle all that apply                 Explain
 U.S. Attorney’s Office              Self Spouse Family
                                         Friend Other
 District Attorney’s or              Self Spouse Family
 Prosecutor’s Office                     Friend Other
 U.S. Department of Justice          Self Spouse Family
                                         Friend Other
 Courts/Judicial System              Self Spouse Family
                                         Friend Other
 FBI                                 Self Spouse Family
                                         Friend Other
 Police Department or Sheriff’s      Self Spouse Family
 Office                                  Friend Other
 DEA                                 Self Spouse Family
                                         Friend Other
 INS                                 Self Spouse Family
                                         Friend Other
 Postal Inspection Service           Self Spouse Family
                                         Friend Other
 State Department of Revenue         Self Spouse Family
                                         Friend Other
 Department of Homeland              Self Spouse Family
 Security                                Friend Other
 IRS                                 Self Spouse Family
                                         Friend Other

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16.   Do you have any problem with the legal proposition that the prosecutor must prove that a
      defendant is guilty beyond a reasonable doubt, or he or she must be found not guilty?

      Yes _____      No _____

      Please explain: ___________________________________________________________

      _______________________________________________________________________

17.   Do you have any problem with the legal proposition that a defendant must be presumed
      innocent unless and until the prosecution can prove he or she is guilty?

      Yes _____      No _____

      Please explain: ___________________________________________________________

      _______________________________________________________________________

18.   Do you have any difficulty presuming that Mr. Williams and Ms. Burdette are innocent
      right now?

      Yes _____      No _____

      If yes, please explain: _____________________________________________________

      _______________________________________________________________________

19.   Under the law, every defendant has the constitutional right to not testify in his or her own
      defense. If a defendant does not testify, the jury may not consider that fact in any way in
      reaching a decision as to whether the defendant is guilty or not guilty. If a defendant
      does not testify, would you be able to find him or her not guilty if the prosecution does
      not prove its case?

      Yes _____      No _____

      If yes, please explain: _____________________________________________________

      _______________________________________________________________________

20.   Have you or your spouse, an immediate family member, or close friend ever been
      stopped, questioned, or arrested by a law enforcement officer?

      Yes _____      No _____




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21.   Did you feel that you or the person you knew was treated fairly or unfairly?

      Fairly _____          Unfairly _____

      Please describe the experience:



22.   If there is anything else that you believe the Court or the parties should know about you,
      your attitudes, opinions, experiences, please explain here:

      _______________________________________________________________________

      _______________________________________________________________________




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